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     7
         Attorneys for Plaintiff and Counterdefendant
     8   JOAQUIN ANDRES ACOSTA

     9

    10                        UNITED STATES DISTRICT COURT

    11                 FOR THE CENTRAL DISTRICT OF CALIFORNIA

    12

    13    UNITED STATES OF AMERICA,            Case No. 13-01438-DDP (Jcx)
          for the use and benefit of AJ
    14    ACOSTA COMPANY, INC., a              JOAQUIN ANDRES ACOSTA’S
          California corporation,              WITNESS LIST
    15
                      Plaintiffs,
    16
                vs.                            Pre-Trial Conf.: January 13, 2020
    17                                         Trial Date:      January 21, 2020
          ALLSTATE ENGINEERING, a
    18    California corporation, WESTERN      Dept.            Court room 3, 2nd Floor
          SURETY COMPANY, a South              Judge:           Hon. Dean D. Pregerson
    19    Dakota corporation,

    20                Defendants.

    21

    22    ALLSTATE ENGINEERING, a
          California corporation,
    23
                Counterclaimant,
    24
                v.
    25
          AJ ACOSTA COMPANY, INC., a
    26    California corporation,

    27          Counterdefendant.

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                      PLAINTIFF JOAQUIN ANDRES ACOSTA’S WITNESS LIST
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     1        TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
     2        Pursuant to Rule 26(a)(3) of the Federal Rules of Civil Procedure, Plaintiff
     3   and Counterdefendant JOAQUIN ANDRES ACOSTA (“Acosta”) on behalf of AJ
     4   AJ ACOSTA COMPANY, INC. hereby makes the following disclosures:
     5        I.    RULE 26(a)(3)(A)(i): IDENTIFICATION OF WITNESSES
     6        A. Witnesses Acosta Expects to Present
     7
                   1. Andy Acosta – Owner
                      P.O. Box 2889
     8                Big Bear, CA 92315
     9
                      (909) 866-9634

    10              2. Keith Elliott
    11
                       P.O. Box 2889
                       Big Bear, CA 92315
    12                 (909) 866-9634
    13
                    3. Manual Soto
    14                 P.O. Box 2889
    15
                       Big Bear, CA 92315
                       (909) 866-9634
    16

    17
                    4. Roberto Soto
                       P.O. Box 2889
    18                 Big Bear, CA 92315
    19                 (909) 866-9634

    20              5. Jose Salazar
    21                 P.O. Box 2889
                       Big Bear, CA 92315
    22                 (909) 866-9634
    23
                    6. Josh Choi
    24                 1206 S. Alverado Street #A
    25                 Los Angeles, CA 90006
                       (213) 383-1968
    26

    27              7. Dave Jordaan
                       55 E. Yale Loop
    28                 Irvine, CA 92604
                                           -2-
                     PLAINTIFF JOAQUIN ANDRES ACOSTA’S WITNESS LIST
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     1
                      (714)720-5472

     2             8. Leonard Reyes*
     3
                      1206 S. Alverado Street #A
                      Los Angeles, CA 90006
     4                (213) 383-1968
     5
                   9. Tom Bell*
     6                1206 S. Alverado Street #A
     7
                      Los Angeles, CA 90006
                      (213) 383-1968
     8

     9
                   10.Sean Lee*
                      1206 S. Alverado Street #A
    10                Los Angeles, CA 90006
    11
                      (213) 383-1968

    12             11.Raymond Hagley*
    13                1206 S. Alverado Street #A
                      Los Angeles, CA 90006
    14                (213) 383-1968
    15
                   12.Kevin Hanson*
    16                21433 Ambushers Street.
    17                Diamond Bar, CA 91765
                      (949)279-8483
    18

    19             13. Person Most Knowledgeable for Defendant Western Surety
                      Company*
    20

    21             14. Jay Hawkins
                      U.S. Dept. of the Army Corps of Engineers
    22                915 Wilshire Blvd.
    23                Los Angeles, CA 90053
                      (805) 717-2789
    24

    25             15.Harold Hartman*
                      U.S. Dept. of the Army Corps of Engineers
    26
                      915 Wilshire Blvd.
    27                Los Angeles, CA 90053
                      (805) 717-2789
    28

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                    PLAINTIFF JOAQUIN ANDRES ACOSTA’S WITNESS LIST
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     1
                    16. Mike Tomkinson
     2                 680 North Cota Street
     3
                       Corona, CA 92880
                       (951) 280-2445
     4

     5

     6   Dated: December 23, 2019
                                      DIEFENBACH LAW GROUP
     7

     8                                By       /s/ James C. Diefenbach
                                               James C. Diefenbach, Esq.
     9                                         Attorneys for Plaintiff and
                                               Counterdefendant
    10                                         Joaquin Andres Acosta
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                     PLAINTIFF JOAQUIN ANDRES ACOSTA’S WITNESS LIST
